

Harris v Campbell (2017 NY Slip Op 08110)





Harris v Campbell


2017 NY Slip Op 08110


Decided on November 17, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, DEJOSEPH, NEMOYER, AND WINSLOW, JJ.


1052 CA 16-01521

[*1]MONICA HARRIS AND DEMAR HARRIS, PLAINTIFFS-APPELLANTS,
vEVAN CAMPBELL, DEFENDANT-RESPONDENT. (APPEAL NO. 1.) 






RAMOS &amp; RAMOS, BUFFALO (JOSHUA I. RAMOS OF COUNSEL), FOR PLAINTIFFS-APPELLANTS. 
KENNEY SHELTON LIPTAK NOWAK LLP, BUFFALO (AARON M. ADOFF OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Supreme Court, Erie County (John A. Michalek, J.), entered November 4, 2015. The order denied the motion of plaintiffs to set aside a jury verdict. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs (see Smith v Catholic Med. Ctr. of Brooklyn &amp; Queens,  155 AD2d 435, 435 [2d Dept 1989]; see also  CPLR 5501 [a] [1]).
Entered: November 17, 2017
Mark W. Bennett
Clerk of the Court








